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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
NEENAH ENTERPRISES, INC., ef al,’ Case No. 10-10360 (MFW)
Debtors. Jointly Administered
Hearing Date: March 9, 2010 at 1:00 p.m. (ET)
Objection Deadline: March 2, 2010 at 4:00 p.m. (ET)

NOTICE OF APPLICATION

TO: (I) THE U.S. TRUSTEE; (II) COUNSEL TO THE COMMITTEE; (I)
COUNSEL TO THE AGENT FOR THE LENDERS UNDER THE
PREPETITION CREDIT FACILITY; (IV) COUNSEL TO THE AGENTS FOR
THE LENDERS UNDER THE PROPOSED POST-PETITION CREDIT
FACILITIES; (V) COUNSEL TO THE AD HOC COMMITTEE OF THE
HOLDERS OF 9.5% SECURED NOTES; (VI) THE INDENTURE TRUSTEE
FOR THE 9.5% SECURED NOTES; (VII) COUNSEL TO THE HOLDERS OF
THE 12.5% SUBORDINATED NOTES; AND (VIII) ALL OTHER PARTIES
REQUIRED TO RECEIVE SERVICE UNDER RULE 2002-1(B)

PLEASE TAKE NOTICE that on the date hereof, the above-captioned
debtors and debtors in possession (collectively, the “Debtors”) filed the attached
Application for an Order Authorizing the Debtors and Debtors-in-Possession to Employ
and Retain Rothschild Inc. as Financial Advisor and Investment Banker Pursuant to 11
U.S.C. $$ 327(a) and 328(a), Nunc Pro Tunc to the Petition Date, and Granting a Waiver
of Compliance with Del. Bankr. L.R. 2016-2(d) in Accordance with Del. Bankr. L.R.

2016-2(g) (the “Application”).

PLEASE TAKE FURTHER NOTICE that objections to the
Application, if any, must be filed on or before March 2, 2010 at 4:00 p.m. (ET) (the
“Objection Deadline”) with the United States Bankruptcy Court for the District of
Delaware, 3rd Floor, 824 Market Street, Wilmington, Delaware 19801. At the same
time, you must serve a copy of the response upon the undersigned counsel to the Debtors
so as to be received on or before the Objection Deadline.

' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Neenah Enterprises, Inc. (8281); NFC Castings, Inc. (7913); Neenah Foundry
Company (0331); Cast Alloys, Inc. (1223); Neenah Transport, Inc. (8433); Advanced Cast Products, Inc.
(7691); Gregg Industries, Inc. (8664); Mercer Forge Corporation (1711); Deeter Foundry, Inc. (5148);
Dalton Corporation (9770); Belcher Corporation (3193); Peerless Corporation (4462); A&M Specialties,
Inc. (1756); Dalton Corporation, Warsaw Manufacturing Facility (4775); Dalton Corporation, Ashland
Manufacturing Facility (3079); Dalton Corporation, Kendallville Manufacturing Facility (4777); Dalton
Corporation, Stryker Machining Facility Co. (3080), and Morgan’s Welding, Inc. (1300). The mailing
address for each Debtor is 2121 Brooks Avenue, Neenah, WI 54957.

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PLEASE TAKE FURTHER NOTICE that a hearing on the Application
will be held on March 9, 2010 at 1:00 p.m. (ET) before the Honorable Mary F. Walrath
at the United States Bankruptcy Court for the District of Delaware, 824 Market Street, 5th
Floor, Courtroom No. 4, Wilmington, Delaware 19801.

IF YOU FAIL TO OBJECT TO THE RELIEF REQUESTED IN
THE APPLICATION, THE COURT MAY GRANT THE RELIEF REQUESTED
WITHOUT FURTHER NOTICE OR HEARING.

Dated: Wilmington, Delaware Respectfully submitted,
February 19, 2010 SIDLEY AUSTIN LLP
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-and-
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PROPOSED ATTORNEYS FOR THE
DEBTORS AND DEBTORS IN POSSESSION

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